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                           HTTP Live Streaming
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Abstract

  This document describes a protocol for transferring unbounded streams
  of multimedia data. It specifies the data format of the files and
  the actions to be taken by the server (sender) and the clients
  (receivers) of the streams. It describes version 3 of this protocol.

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1.    Introduction

     This document describes a protocol for transferring unbounded streams
     of multimedia data. The protocol supports the encryption of media
     data and the provision of alternate versions (e.g. bitrates) of a
     stream. Media data can be transferred soon after it is created,
     allowing it to be played in near real-time. Data is usually carried
     over HTTP [RFC2616].

     External references that describe related standards such as HTTP are
     listed in Section 11.


2.    Summary

     A multimedia presentation is specified by a URI [RFC3986] to a
     Playlist file, which is an ordered list of media URIs and
     informational tags. Each media URI refers to a media file which is a
     segment of a single contiguous stream.

     To play the stream, the client first obtains the Playlist file and
     then obtains and plays each media file in the Playlist. It reloads
     the Playlist file as described in this document to discover
     additional segments.

     The key words "MUST", "MUST NOT", "REQUIRED", "SHALL", "SHALL NOT",
     "SHOULD", "SHOULD NOT", "RECOMMENDED", "MAY", and "OPTIONAL" in this
     document are to be interpreted as described in RFC 2119 [RFC2119].


3.    The Playlist file

3.1.    Introduction

     Playlists MUST be Extended M3U Playlist files [M3U]. This document
     extends the M3U file format by defining additional tags.

     An M3U Playlist is a text file that consists of individual lines.
     Lines are terminated by either a single LF character or a CR
     character followed by an LF character. Each line is a URI, a blank,
     or starts with the comment character '#'. Blank lines are ignored.
     White space MUST NOT be present, except for elements in which it is
     explicitly specified.

     A URI line identifies a media file or a variant Playlist file (see
     Section 3.3.8).

     URIs MAY be relative.   A relative URI MUST be resolved against the
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  URI of the Playlist file that contains it.

  Lines that start with the comment character '#' are either comments
  or tags. Tags begin with #EXT. All other lines that begin with '#'
  are comments and SHOULD be ignored.

  The duration of a Playlist file is the sum of the durations of the
  media files within it.

  M3U Playlist files whose names end in .m3u8 and/or have the HTTP
  Content-Type "application/vnd.apple.mpegurl" are encoded in UTF-8
  [RFC3629]. Files whose names end with .m3u and/or have the HTTP
  Content-Type [RFC2616] "audio/mpegurl" are encoded in US-ASCII
  [US_ASCII].

  Playlist files MUST have names that end in .m3u8 and/or have the
  Content-Type "application/vnd.apple.mpegurl" (if transferred over
  HTTP), or have names that end in .m3u and/or have the HTTP Content-
  Type type "audio/mpegurl" (for compatibility).

  The Extended M3U file format defines two tags: EXTM3U and EXTINF. An
  Extended M3U file is distinguished from a basic M3U file by its first
  line, which MUST be #EXTM3U.

  EXTINF is a record marker that describes the media file identified by
  the URI that follows it. Each media file URI MUST be preceded by an
  EXTINF tag. Its format is:

  #EXTINF:<duration>,<title>

  "duration" is an integer or floating-point number in decimal
  positional notation that specifies the duration of the media file in
  seconds. Integer durations SHOULD be rounded to the nearest integer.
  Durations MUST be integers if the protocol version of the Playlist
  file is less than 3. The remainder of the line following the comma
  is the title of the media file, which is an optional human-readable
  informative title of the media segment.

  This document defines the following new tags: EXT-X-TARGETDURATION,
  EXT-X-MEDIA-SEQUENCE, EXT-X-KEY, EXT-X-PROGRAM-DATE-TIME, EXT-X-
  ALLOW-CACHE, EXT-X-PLAYLIST-TYPE, EXT-X-STREAM-INF, EXT-X-ENDLIST,
  EXT-X-DISCONTINUITY, and EXT-X-VERSION.

3.2.   Attribute Lists

  Certain extended M3U tags have values which are Attribute Lists. An
  Attribute List is a comma-separated list of attribute/value pairs
  with no whitespace.
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  An attribute/value pair has the following syntax:

  AttributeName=AttributeValue

  An AttributeName is an unquoted string containing characters from the
  set [A-Z].

  An AttributeValue is one of the following:

  o   decimal-integer: an unquoted string of characters from the set
      [0-9] expressing an integer in base-10 arithmetic.

  o   hexadecimal-integer: an unquoted string of characters from the set
      [0-9] and [A-F] that is prefixed with 0x or 0X and which expresses
      an integer in base-16 arithmetic.

  o   decimal-floating-point: an unquoted string of characters from the
      set [0-9] and '.' which expresses a floating-point number in
      decimal positional notation.

  o   quoted-string: a string of characters within a pair of double-
      quotes ("). The set of characters allowed in the string and any
      rules for escaping special characters are specified by the
      Attribute definition, but any double-quote (") character and any
      carriage-return or linefeed will always be replaced by an escape
      sequence.

  o   enumerated-string: an unquoted character string from a set which
      is explicitly defined by the Attribute. An enumerated-string will
      never contain double-quotes ("), commas (,), or whitespace.

  o   decimal-resolution: two decimal-integers separated by the "x"
      character, indicating horizontal and vertical pixel dimensions.

  The type of the AttributeValue for a given AttributeName is specified
  by the Attribute definition.

  A given AttributeName MUST NOT appear more than once in a given
  Attribute List.

  An Attribute/value pair with an unrecognized AttributeName MUST be
  ignored by the client.

  Attribute/value pairs of type enumerated-string that contain
  unrecognized values SHOULD be ignored by the client.
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3.3.   New Tags

3.3.1.   EXT-X-TARGETDURATION

  The EXT-X-TARGETDURATION tag specifies the maximum media file
  duration. The EXTINF duration of each media file in the Playlist
  file MUST be less than or equal to the target duration. This tag
  MUST appear once in the Playlist file. Its format is:

  #EXT-X-TARGETDURATION:<s>

  where s is an integer indicating the target duration in seconds.

3.3.2.   EXT-X-MEDIA-SEQUENCE

  Each media file URI in a Playlist has a unique integer sequence
  number. The sequence number of a URI is equal to the sequence number
  of the URI that preceded it plus one. The EXT-X-MEDIA-SEQUENCE tag
  indicates the sequence number of the first URI that appears in a
  Playlist file. Its format is:

  #EXT-X-MEDIA-SEQUENCE:<number>

  A Playlist file MUST NOT contain more than one EXT-X-MEDIA-SEQUENCE
  tag. If the Playlist file does not contain an EXT-X-MEDIA-SEQUENCE
  tag then the sequence number of the first URI in the playlist SHALL
  be considered to be 0.

  A media file's sequence number is not required to appear in its URI.

  See Section 6.3.2 and Section 6.3.5 for information on handling the
  EXT-X-MEDIA-SEQUENCE tag.

3.3.3.   EXT-X-KEY

  Media files MAY be encrypted. The EXT-X-KEY tag provides information
  necessary to decrypt media files that follow it. Its format is:

  #EXT-X-KEY:<attribute-list>

  The following attributes are defined:

  The METHOD attribute specifies the encryption method. It is of type
  enumerated-string. Each EXT-X-KEY tag MUST contain a METHOD
  attribute.

  Two methods are defined: NONE and AES-128.
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  An encryption method of NONE means that media files are not
  encrypted. If the encryption method is NONE, the URI and the IV
  attributes MUST NOT be present.

  An encryption method of AES-128 means that media files are encrypted
  using the Advanced Encryption Standard [AES_128] with a 128-bit key
  and PKCS7 padding [RFC5652]. If the encryption method is AES-128,
  the URI attribute MUST be present. The IV attribute MAY be present;
  see Section 5.2.

  The URI attribute specifies how to obtain the key. Its value is a
  quoted-string that contains a URI [RFC3986] for the key.

  The IV attribute, if present, specifies the Initialization Vector to
  be used with the key. Its value is a hexadecimal-integer. The IV
  attribute appeared in protocol version 2.

  A new EXT-X-KEY supersedes any prior EXT-X-KEY.

  If the Playlist file does not contain an EXT-X-KEY tag then media
  files are not encrypted.

  See Section 5 for the format of the key file, and Section 5.2,
  Section 6.2.3 and Section 6.3.6 for additional information on media
  file encryption.

3.3.4.   EXT-X-PROGRAM-DATE-TIME

  The EXT-X-PROGRAM-DATE-TIME tag associates the beginning of the next
  media file with an absolute date and/or time. The date/time
  representation is ISO/IEC 8601:2004 [ISO_8601] and SHOULD indicate a
  time zone. For example:

  #EXT-X-PROGRAM-DATE-TIME:<YYYY-MM-DDThh:mm:ssZ>

  See Section 6.2.1 and Section 6.3.3 for more information on the EXT-
  X-PROGRAM-DATE-TIME tag.

3.3.5.   EXT-X-ALLOW-CACHE

  The EXT-X-ALLOW-CACHE tag indicates whether the client MAY or MUST
  NOT cache downloaded media files for later replay. It MAY occur
  anywhere in the Playlist file; it MUST NOT occur more than once. The
  EXT-X-ALLOW-CACHE tag applies to all segments in the playlist. Its
  format is:

  #EXT-X-ALLOW-CACHE:<YES|NO>
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  See Section 6.3.3 for more information on the EXT-X-ALLOW-CACHE tag.

3.3.6.   EXT-X-PLAYLIST-TYPE

  The EXT-X-PLAYLIST-TYPE tag provides mutability information about the
  Playlist file. It is optional. Its format is:

  #EXT-X-PLAYLIST-TYPE:<EVENT|VOD>

  Section 6.2.1 defines the implications of the EXT-X-PLAYLIST-TYPE
  tag.

3.3.7.   EXT-X-ENDLIST

  The EXT-X-ENDLIST tag indicates that no more media files will be
  added to the Playlist file. It MAY occur anywhere in the Playlist
  file; it MUST NOT occur more than once. Its format is:

  #EXT-X-ENDLIST

3.3.8.   EXT-X-STREAM-INF

  The EXT-X-STREAM-INF tag indicates that the next URI in the Playlist
  file identifies another Playlist file. Its format is:

  #EXT-X-STREAM-INF:<attribute-list>
  <URI>

  The following attributes are defined:

  BANDWIDTH

  The value is a decimal-integer of bits per second. It MUST be an
  upper bound of the overall bitrate of each media file, calculated to
  include container overhead, that appears or will appear in the
  Playlist.

  Every EXT-X-STREAM-INF tag MUST include the BANDWIDTH attribute.

  PROGRAM-ID

  The value is a decimal-integer that uniquely identifies a particular
  presentation within the scope of the Playlist file.

  A Playlist file MAY contain multiple EXT-X-STREAM-INF tags with the
  same PROGRAM-ID to identify different encodings of the same
  presentation. These variant playlists MAY contain additional EXT-X-
  STREAM-INF tags.
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  CODECS

  The value is a quoted-string containing a comma-separated list of
  formats, where each format specifies a media sample type that is
  present in a media file in the Playlist file. Valid format
  identifiers are those in the ISO File Format Name Space defined by
  RFC 4281 [RFC4281].

  Every EXT-X-STREAM-INF tag SHOULD include a CODECS attribute.

  RESOLUTION

  The value is a decimal-resolution describing the approximate encoded
  horizontal and vertical resolution of video within the stream.

3.3.9.    EXT-X-DISCONTINUITY

  The EXT-X-DISCONTINUITY tag indicates an encoding discontinuity
  between the media file that follows it and the one that preceded it.
  The set of characteristics that MAY change is:

  o   file format

  o   number and type of tracks

  o   encoding parameters

  o   encoding sequence

  o   timestamp sequence

  Its format is:

  #EXT-X-DISCONTINUITY

  See Section 4, Section 6.2.1, and Section 6.3.3 for more information
  about the EXT-X-DISCONTINUITY tag.

3.3.10.    EXT-X-VERSION

  The EXT-X-VERSION tag indicates the compatibility version of the
  Playlist file. The Playlist file, its associated media, and its
  server MUST comply with all provisions of the most-recent version of
  this document describing the protocol version indicated by the tag
  value.
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     Its format is:

     #EXT-X-VERSION:<n>

     where n is an integer indicating the protocol version.

     A Playlist file MUST NOT contain more than one EXT-X-VERSION tag. A
     Playlist file that does not contain an EXT-X-VERSION tag MUST comply
     with version 1 of this protocol.


4.    Media files

     Each media file URI in a Playlist file MUST identify a media file
     which is a segment of the overall presentation. Each media file MUST
     be formatted as an MPEG-2 Transport Stream or an MPEG-2 audio
     elementary stream [ISO_13818].

     Transport Stream files MUST contain a single MPEG-2 Program. There
     SHOULD be a Program Association Table and a Program Map Table at the
     start of each file. A file that contains video SHOULD have at least
     one key frame and enough information to completely initialize a video
     decoder.

     A media file in a Playlist MUST be the continuation of the encoded
     stream at the end of the media file with the previous sequence number
     unless it was the first media file ever to appear in the Playlist
     file or it is prefixed by an EXT-X-DISCONTINUITY tag.

     Clients SHOULD be prepared to handle multiple tracks of a particular
     type (e.g. audio or video). A client with no other preference SHOULD
     choose the one with the lowest numerical PID that it can play.

     Clients MUST ignore private streams inside Transport Streams that
     they do not recognize.

     The encoding parameters for samples within a stream inside a media
     file and between corresponding streams across multiple media files
     SHOULD remain consistent. However clients SHOULD deal with encoding
     changes as they are encountered, for example by scaling video content
     to accommodate a resolution change.


5.    Key files
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5.1.    Introduction

     An EXT-X-KEY tag with the URI attribute identifies a Key file. A Key
     file contains the cipher key that MUST be used to decrypt subsequent
     media files in the Playlist.

     The AES-128 encryption method uses 16-octet keys. The format of the
     Key file is simply a packed array of these 16 octets in binary
     format.

5.2.    IV for AES-128

     128-bit AES requires the same 16-octet Initialization Vector (IV) to
     be supplied when encrypting and decrypting. Varying this IV
     increases the strength of the cipher.

     If the EXT-X-KEY tag has the IV attribute, implementations MUST use
     the attribute value as the IV when encrypting or decrypting with that
     key. The value MUST be interpreted as a 128-bit hexadecimal number
     and MUST be prefixed with 0x or 0X.

     If the EXT-X-KEY tag does not have the IV attribute, implementations
     MUST use the sequence number of the media file as the IV when
     encrypting or decrypting that media file. The big-endian binary
     representation of the sequence number SHALL be placed in a 16-octet
     buffer and padded (on the left) with zeros.


6.    Client/Server Actions

6.1.    Introduction

     This section describes how the server generates the Playlist and
     media files and how the client should download and play them.

6.2.    Server Process

6.2.1.    Introduction

     The production of the MPEG-2 stream is outside the scope of this
     document, which simply presumes a source of a continuous stream
     containing the presentation.

     The server MUST divide the stream into individual media files whose
     duration is less than or equal to a constant target duration. The
     server SHOULD attempt to divide the stream at points that support
     effective decode of individual media files, e.g. on packet and key
     frame boundaries.
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  The server MUST create a URI for each media file that will allow its
  clients to obtain the file.

  The server MUST create a Playlist file. The Playlist file MUST
  conform to the format described in Section 3. A URI for each media
  file that the server wishes to make available MUST appear in the
  Playlist in the order in which it is to be played. The entire media
  file MUST be available to clients if its URI is in the Playlist file.

  The Playlist file MUST contain an EXT-X-TARGETDURATION tag. Its
  value MUST be equal to or greater than the EXTINF value of any media
  file that appears or will appear in the Playlist file. Its value
  MUST NOT change. A typical target duration is 10 seconds.

  The Playlist file SHOULD contain one EXT-X-VERSION tag which
  indicates the compatibility version of the stream. Its value MUST be
  the lowest protocol version with which the server, Playlist file, and
  associated media files all comply.

  The server MUST create a URI for the Playlist file that will allow
  its clients to obtain the file.

  If the Playlist file is distributed by HTTP, the server SHOULD
  support client requests to use the "gzip" Content-Encoding.

  Changes to the Playlist file MUST be made atomically from the point
  of view of the clients.

  The server MUST NOT change the Playlist file, except to:

     Append lines to it (Section 6.2.1).

     Remove media file URIs from the Playlist in the order that they
     appear, along with any tags that apply only to those media files
     (Section 6.2.2).

     Change the value of the EXT-X-MEDIA-SEQUENCE tag (Section 6.2.2).

     Add or remove EXT-X-STREAM-INF tags (Section 6.2.4). Note that
     clients are not required to reload variant Playlist files, so
     changing them may not have immediate effect.

     Add an EXT-X-ENDLIST tag to the Playlist (Section 6.2.1).

  Furthermore, the Playlist file MAY contain an EXT-X-PLAYLIST-TYPE tag
  with a value of either EVENT or VOD. If the tag is present and has a
  value of EVENT, the server MUST NOT change or delete any part of the
  Playlist file (although it MAY append lines to it). If the tag is
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  present and has a value of VOD, the Playlist file MUST NOT change.

  Every media file URI in a Playlist MUST be prefixed with an EXTINF
  tag indicating the duration of the media file.

  The server MAY associate an absolute date and time with a media file
  by prefixing its URI with an EXT-X-PROGRAM-DATE-TIME tag. The value
  of the date and time provides an informative mapping of the timeline
  of the media to an appropriate wall-clock time, which may be used as
  a basis for seeking, for display, or for other purposes. If a server
  provides this mapping, it SHOULD place an EXT-X-PROGRAM-DATE-TIME tag
  after every EXT-X-DISCONTINUITY tag in the Playlist file.

  If the Playlist contains the final media file of the presentation
  then the Playlist file MUST contain the EXT-X-ENDLIST tag.

  If the Playlist does not contain the EXT-X-ENDLIST tag, the server
  MUST make a new version of the Playlist file available that contains
  at least one new media file URI. It MUST be made available relative
  to the time that the previous version of the Playlist file was made
  available: no earlier than one-half the target duration after that
  time, and no later than 1.5 times the target duration after that
  time.

  If the server wishes to remove an entire presentation, it MUST make
  the Playlist file unavailable to clients. It SHOULD ensure that all
  media files in the Playlist file remain available to clients for at
  least the duration of the Playlist file at the time of removal.

6.2.2.   Sliding Window Playlists

  The server MAY limit the availability of media files to those which
  have been most recently added to the Playlist. To do so the Playlist
  file MUST ALWAYS contain exactly one EXT-X-MEDIA-SEQUENCE tag. Its
  value MUST be incremented by 1 for every media file URI that is
  removed from the Playlist file.

  Media file URIs MUST be removed from the Playlist file in the order
  in which they were added.

  The server MUST NOT remove a media file URI from the Playlist file if
  the duration of the Playlist file minus the duration of the media
  file is less than three times the target duration.

  When the server removes a media file URI from the Playlist, the media
  file SHOULD remain available to clients for a period of time equal to
  the duration of the media file plus the duration of the longest
  Playlist file in which the media file has appeared.
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  If a server plans to remove a media file after it is delivered to
  clients over HTTP, it SHOULD ensure that the HTTP response contains
  an Expires header that reflects the planned time-to-live.

6.2.3.   Encrypting media files

  If media files are to be encrypted the server MUST define a URI which
  will allow authorized clients to obtain a Key file containing a
  decryption key. The Key file MUST conform to the format described in
  Section 5.

  The server MAY set the HTTP Expires header in the key response to
  indicate that the key may be cached.

  If the encryption METHOD is AES-128, AES-128 CBC encryption SHALL be
  applied to individual media files. The entire file MUST be
  encrypted. Cipher Block Chaining MUST NOT be applied across media
  files. The IV used for encryption MUST be either the sequence number
  of the media file or the value of the IV attribute of the EXT-X-KEY
  tag, as described in Section 5.2.

  The server MUST encrypt every media file in a Playlist using the
  method and other attributes specified by the EXT-X-KEY tag that most
  immediately precedes its URI in the Playlist file. Media files
  preceded by an EXT-X-KEY tag whose METHOD is NONE, or not preceded by
  any EXT-X-KEY tag, MUST NOT be encrypted.

  The server MUST NOT remove an EXT-X-KEY tag from the Playlist file if
  the Playlist file contains a URI to a media file encrypted with that
  key.

6.2.4.   Providing variant streams

  A server MAY offer multiple Playlist files to provide different
  encodings of the same presentation. If it does so it SHOULD provide
  a variant Playlist file that lists each variant stream to allow
  clients to switch between encodings dynamically.

  Variant Playlists MUST contain an EXT-X-STREAM-INF tag for each
  variant stream. Each EXT-X-STREAM-INF tag for the same presentation
  MUST have the same PROGRAM-ID attribute value. The PROGRAM-ID value
  for each presentation MUST be unique within the variant Playlist.

  If an EXT-X-STREAM-INF tag contains the CODECS attribute, the
  attribute value MUST include every format defined by [RFC4281] that
  is present in any media file that appears or will appear in the
  Playlist file.
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  The server MUST meet the following constraints when producing variant
  streams:

       Each variant stream MUST present the same content, including
       stream discontinuities.

       Each variant Playlist file MUST have the same target duration.

       Content that appears in one variant Playlist file but not in
       another MUST appear either at the beginning or at the end of the
       Playlist file and MUST NOT be longer than the target duration.

       Matching content in variant streams MUST have matching timestamps.
       This allows clients to synchronize the streams.

       Elementary Audio Stream files MUST signal the timestamp of the
       first sample in the file by prepending an ID3 PRIV tag [ID3] with
       an owner identifier of
       "com.apple.streaming.transportStreamTimestamp". The binary data
       MUST be a 33-bit MPEG-2 Program Elementary Stream timestamp
       expressed as a big-endian eight-octet number, with the upper 31
       bits set to zero.

  In addition, all variant streams SHOULD contain the same encoded
  audio bitstream. This allows clients to switch between streams
  without audible glitching.

6.3.   Client Process

6.3.1.   Introduction

  How the client obtains the URI to the Playlist file is outside the
  scope of this document; it is presumed to have done so.

  The client MUST obtain the Playlist file from the URI. If the
  Playlist file so obtained is a variant Playlist, the client MUST
  obtain the Playlist file from the variant Playlist.

  This document does not specify the treatment of variant streams by
  clients.

6.3.2.   Loading the Playlist file

  Every time a Playlist file is loaded or reloaded from the Playlist
  URI:

       The client MUST ensure that the Playlist file begins with the
       EXTM3U tag and that the EXT-X-VERSION tag, if present, specifies a
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     protocol version supported by the client; if not, the client MUST
     NOT attempt to use the Playlist.

     The client SHOULD ignore any tags and attributes it does not
     recognize.

     The client MUST determine the next media file to load as described
     in Section 6.3.5.

  If the Playlist contains the EXT-X-MEDIA-SEQUENCE tag, the client
  SHOULD assume that each media file in it will become unavailable at
  the time that the Playlist file was loaded plus the duration of the
  Playlist file. The duration of a Playlist file is the sum of the
  durations of the media files within it.

6.3.3.   Playing the Playlist file

  The client SHALL choose which media file to play first from the
  Playlist when playback starts. If the EXT-X-ENDLIST tag is not
  present and the client intends to play the media regularly (i.e. in
  playlist order at the nominal playback rate), the client SHOULD NOT
  choose a file which starts less than three target durations from the
  end of the Playlist file. Doing so can trigger playback stalls.

  To achieve regular playback, media files MUST be played in the order
  that they appear in the Playlist file. The client MAY present the
  available media in any way it wishes, including regular playback,
  random access, and trick modes.

  The client MUST be prepared to reset its parser(s) and decoder(s)
  before playing a media file that is preceded by an EXT-X-
  DISCONTINUITY tag.

  The client SHOULD attempt to load media files in advance of when they
  will be required for uninterrupted playback to compensate for
  temporary variations in latency and throughput.

  If the Playlist file contains the EXT-X-ALLOW-CACHE tag and its value
  is NO, the client MUST NOT cache downloaded media files after they
  have been played. Otherwise the client MAY cache downloaded media
  files indefinitely for later replay.

  The client MAY use the value of the EXT-X-PROGRAM-DATE-TIME tag to
  display the program origination time to the user. If the value
  includes time zone information the client SHALL take it into account,
  but if it does not the client MUST NOT infer an originating time
  zone.
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  The client MUST NOT depend upon the correctness or the consistency of
  the value of the EXT-X-PROGRAM-DATE-TIME tag.

6.3.4.   Reloading the Playlist file

  The client MUST periodically reload the Playlist file unless it
  contains the EXT-X-ENDLIST tag.

  However the client MUST NOT attempt to reload the Playlist file more
  frequently than specified by this section.

  When a client loads a Playlist file for the first time or reloads a
  Playlist file and finds that it has changed since the last time it
  was loaded, the client MUST wait for a period of time before
  attempting to reload the Playlist file again. This period is called
  the initial minimum reload delay. It is measured from the time that
  the client began loading the Playlist file.

  The initial minimum reload delay is the duration of the last media
  file in the Playlist. Media file duration is specified by the EXTINF
  tag.

  If the client reloads a Playlist file and finds that it has not
  changed then it MUST wait for a period of time before retrying. The
  minimum delay is a multiple of the target duration. This multiple is
  0.5 for the first attempt, 1.5 for the second, and 3.0 thereafter.

  In order to reduce server load, the client SHOULD NOT reload the
  Playlist files of variant streams that are not currently being
  played. If it decides to switch playback to a different variant, it
  SHOULD stop reloading the Playlist of the old variant and begin
  loading the Playlist of the new variant. It can use the EXTINF
  durations and the constraints in Section 6.2.4 to determine the
  approximate location of corresponding media. Once media from the new
  variant has been loaded, the timestamps in the media files can be
  used to synchronize the old and new timelines precisely.

6.3.5.   Determining the next file to load

  The client MUST examine the Playlist file every time it is loaded or
  reloaded to determine the next media file to load.

  The first file to load MUST be the file that the client has chosen to
  play first, as described in Section 6.3.3.

  If the first file to be played has been loaded and the Playlist file
  does not contain the EXT-X-MEDIA-SEQUENCE tag then the client MUST
  verify that the current Playlist file contains the URI of the last
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     loaded media file at the offset it was originally found at, halting
     playback if it does not. The next media file to load MUST be the
     first media file URI following the last-loaded URI in the Playlist.

     If the first file to be played has been loaded and the Playlist file
     contains the EXT-X-MEDIA-SEQUENCE tag then the next media file to
     load SHALL be the one with the lowest sequence number that is greater
     than the sequence number of the last media file loaded.

6.3.6.       Decrypting encrypted media files

     If a Playlist file contains an EXT-X-KEY tag that specifies a Key
     file URI, the client MUST obtain that key file and use the key inside
     it to decrypt all media files following the EXT-X-KEY tag until
     another EXT-X-KEY tag is encountered.

     If the encryption METHOD is AES-128, AES-128 CBC decryption SHALL be
     applied to individual media files. The entire file MUST be
     decrypted. Cipher Block Chaining MUST NOT be applied across media
     files. The IV used for decryption MUST be either the sequence number
     of the media file or the value of the IV attribute of the EXT-X-KEY
     tag, as described in Section 5.2.

     If the encryption METHOD is NONE, the client MUST treat all media
     files following the EXT-X-KEY tag as cleartext (not encrypted) until
     another EXT-X-KEY tag is encountered.


7.       Protocol version compatibility

     Clients and servers MUST implement protocol version 2 or higher to
     use:

     o    The IV attribute of the EXT-X-KEY tag.

     Clients and servers MUST implement protocol version 3 or higher to
     use:

     o    Floating-point EXTINF duration values.


8.       Examples

8.1.       Introduction

     This section contains several example Playlist files.
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8.2.   Simple Playlist file

  #EXTM3U
  #EXT-X-TARGETDURATION:5220
  #EXTINF:5220,
  http://media.example.com/entire.ts
  #EXT-X-ENDLIST

8.3.   Sliding Window Playlist, using HTTPS

  #EXTM3U
  #EXT-X-TARGETDURATION:8
  #EXT-X-MEDIA-SEQUENCE:2680

  #EXTINF:8,
  https://priv.example.com/fileSequence2680.ts
  #EXTINF:8,
  https://priv.example.com/fileSequence2681.ts
  #EXTINF:8,
  https://priv.example.com/fileSequence2682.ts

8.4.   Playlist file with encrypted media files

  #EXTM3U
  #EXT-X-MEDIA-SEQUENCE:7794
  #EXT-X-TARGETDURATION:15

  #EXT-X-KEY:METHOD=AES-128,URI="https://priv.example.com/key.php?r=52"

  #EXTINF:15,
  http://media.example.com/fileSequence52-1.ts
  #EXTINF:15,
  http://media.example.com/fileSequence52-2.ts
  #EXTINF:15,
  http://media.example.com/fileSequence52-3.ts

  #EXT-X-KEY:METHOD=AES-128,URI="https://priv.example.com/key.php?r=53"

  #EXTINF:15,
  http://media.example.com/fileSequence53-1.ts
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8.5.    Variant Playlist file

     #EXTM3U
     #EXT-X-STREAM-INF:PROGRAM-ID=1,BANDWIDTH=1280000
     http://example.com/low.m3u8
     #EXT-X-STREAM-INF:PROGRAM-ID=1,BANDWIDTH=2560000
     http://example.com/mid.m3u8
     #EXT-X-STREAM-INF:PROGRAM-ID=1,BANDWIDTH=7680000
     http://example.com/hi.m3u8
     #EXT-X-STREAM-INF:PROGRAM-ID=1,BANDWIDTH=65000,CODECS="mp4a.40.5"
     http://example.com/audio-only.m3u8


9.    Contributors

     Significant contributions to the design of this protocol were made by
     Jim Batson, David Biderman, Bill May, Roger Pantos, and Alan Tseng.


10.    IANA Considerations

     This memo requests that the following MIME type [RFC2046] be
     registered with the IANA:

     Type name: "application"

     Subtype name: "vnd.apple.mpegurl"

     Required parameters: (none)

     Optional parameters: (none)

     Encoding considerations: encoded as text.     See Section 3 for more
     information.

     Security considerations: See Section 11.

     Compression: this media type does not employ compression.

     Interoperability considerations: There are no byte-ordering issues,
     since files are 7- or 8-bit text. Applications could encounter
     unrecognized tags, which SHOULD be ignored.

     Published specification: see Section 3.

     Applications that use this media type: Multimedia applications such
     as the iPhone media player (OS 3.0) and QuickTime Player in Mac OS X
     Snow Leopard.
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  Additional information: files begin with the magic number #EXTM3U.
  Filenames normally end with .m3u8 or .m3u (see Section 3). No
  Macintosh file type codes have been registered.

  Person & email address to contact for further information: David
  Singer, singer AT apple.com.

  Intended usage: LIMITED USE

  Restrictions on usage: (none)

  Author: Roger Pantos

  Change Controller: David Singer


11.   Security Considerations

  Since the protocol generally uses HTTP to transfer data, most of the
  same security considerations apply. See section 15 of RFC 2616
  [RFC2616].

  Media file parsers are typically subject to "fuzzing" attacks.
  Clients SHOULD take care when parsing files received from a server so
  that non-compliant files are rejected.

  Playlist files contain URIs, which clients will use to make network
  requests of arbitrary entities. Clients SHOULD range-check responses
  to prevent buffer overflows. See also the Security Considerations
  section of RFC 3986 [RFC3986].

  Clients SHOULD load resources identified by URI lazily to avoid
  contributing to denial-of-service attacks.

  HTTP requests often include session state ("cookies"), which may
  contain private user data. Implementations MUST follow cookie
  restriction and expiry rules specified by RFC 2965 [RFC2965]. See
  also the Security Considerations section of RFC 2965, and RFC 2964
  [RFC2964].

  Encryption keys are specified by URI. The delivery of these keys
  SHOULD be secured by a mechanism such as HTTP over TLS [RFC5246]
  (formerly SSL) in conjunction with a secure realm or a session
  cookie.


12.   References
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